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PRISONER S CIVIL RIGHTS COMPLAINT (Rev. 05/20] 5)                                                                            tbxas

                                  IN THE UNITED STATES DISTRICT COURT                                      M 2 1 2019
                                 FOR THE L (Vwt v/y          DISTRICT OF TEXAS
                                                 Ma3Q£V __. DIVISION
                                                                                              BY
Vr\ce,,/3aso -..j. Alhe ±__rT,. X- Sao *                                                      DEPUTY.
Plaintiffs Name and ID Number

 Llf ec rJ                                                                              1:19cv268
Place of Conllnemejit
                                                                         CASE NO.                     _i cm
                                                                                    (Clerk will assign the number)
v.

                       <Too Sncks-s NoI BluV ¦

DefendaiU's Name and,Address
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                        V Pi A'VQf   v' i /   • ¦ P.U'   A
 toi g w i Tyf wnvvtc. fc> p:.                i /l
Defenaant's Name and AcM ress



Defendant s Name and .Address
( DO NOT USE ET ALA)

                                     INSTRUCTIONS - READ CAREFULLY

NOTICE:

Yo r complaint is subjec to dismissal unless it conforms to these Ins ructions and this form.

1, To skirt an action you must file an or ginal and one copy of your complaint ith the court, You should keep
a copy of the complaint for your own reco ds.

2, Your complaint must be legibly handwritten, in ink, or type ritten. You, the plaintiff, must sign and declare
u der enalty of e jury that the facts are correct. If you need additional space, DO NOT USE THE REVE SE
SIDE OR BACK SIDE OF ANY PACE, ATTACH AN ADDITIONAL BLANK PAGE AND WRITE O IT.

3, You must file a separate com laint for each claim you have unless the v rious claims are all related to the s me
incident or issue or are all against the same defendant. Rule 18, Federal Rules of Civil Procedure, Make a short and
plain statement of your claim. Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district, of Texas in the division where one or more named defendants are located, or where die
incident giving rise to your claim for relief occurred. If you are co fined in the Texas Department of Criminal
Justice, Correctional Institutions D vision (TDCJ-CII3), the list labeled as VENUE LIST is posted in yo r unit
law library, It is a list of the Texas prison units indicating the appropriate district court, the d vision and an ad ress
l st of the divisional clerks.



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FILING FEE AND IN FORMA PAUPERIS (l¥f)

1. in order for your com laint to be fiied, it must be accompanied by the statutor filing fee of $350.00 pl s an
administrative fee of $50.00 for a total fee of $4 0.00.

2. I f you do not have the necessary funds to pay the ee in full at this time, you may request permission to proceed
in forma p peris, lit this event you must complete the application to proceed h i forma pauperis, setting forth
information to establish your ina ility to prepay the fees and costs or give security therefor. You must also include
a current six-momh history of your inm te trust account. If you are an inmate in TDCi-ClD, ou can acquire the
a plication to proceed in forma pa peris and the certificate of inmate trust ccount, also nown as in forma
pa peris data sheet, from the law library at your prison un t.

3. The Pr son Litigation Reform Act of 1995 (PLRA) provides if a prisoner brings a civil actio or files an
appeal in forma pauperis, the pri oner shall be required to pay the full amount of a tiling fee. See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filin ee h s been paid by the pris ner. If you
submit the application to proceed in form a pauperis, the court will ap ly 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initi l parti l filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administ ativ fee does not apply
to eases proceeding in forma p peris.)

4. If you intend to seek in forma pa peris status, do not send yo r complaint without n application to proceed
in forma pauperi a d the certificate of inm te trust account. Complete all ess ntial paperwork before submitti g
it to the court.

CHANGE F ADDRESS

It is your responsibil ty to i for the court of any change of address nd its effective date. Such notice should be
marked NOTICE TO THE COURT OF CHANGE OF ADDRESS and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.


1. PREVIOUS LAWSUITS: .
        A. H ve you filed any other lawsuit in st te o federal court relating to your imprisonment? YES v/ NO
        B. If your answer to "'Af' is yes,” describ each lawsuit i the space belo . (If there is more than one
             lawsuit, describe the additional l suits on another piece of p per, giving the same information.)

             1. App oximate date of fili g la suit:
            2. Parties to previous lawsuit:
                   Plaintif                                                                 s)
                   Defe                 dant(s)
            3. Court: (If federal, name the district; if state, na e the count .)
            4.        Cause                         number:

            5. N me of judge to                       hom c se was assigned:

            6. Disposition: (Was the case dismissed, appealed, still ending?)
            7. Approximate date ofdisposition:

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  PT .AC . OF PRESENT CONFINEMENT: MTr /Gas - "7 iXfl s

  EXHAUSTION OF GRIEVANCE PROCEDURES:
  Have you exhausted all steps of the institutional grievance procedure? .YES NO
  Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

  PARTIES TO THIS SUIT:
  A. TIarne arid ad ress of plaintiff: .To SOD             v~\ 0* 0. & Q JS L jL33 i yVGQ ftQ... -
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      P.O.fto                      (ftTO-_                       X.           .1      -    :


  B. Full name of e ch defendant, his official position, his place of employment, and his lull tnaiLing address.


     Defendant # I:
      F.tyP , q                   twUASvt uvl                           Ttt,
      Briefly describe the act(s) or omission(s) of this defendant w ich you claimed harmed you,

      fnpi    'i rJLcts l     ,..-.rpigo riDc       iOAi


      Dcf ndan t d: BoXKh £ \ tAk., i i                                                        „0-sL AfAfe,

                       ohix&Ji. Utou 3y.\A . k ct\
      Briefly describe the act(s) or omissio (s) of t is defendant which you claimed armed you.
      d/T A pinPA Uibittk). r c vV                                         ai        o Ml

      DefeadfiiU                                     #3:            -     .


      Briefly describe the actfs) or omission(s) of this defendant whic you claimed arme you.




      Defen ant #4:


      Briefly describe the act(s) oromission(s) of this defendant which you claimed harmed you.



      Defendani ?#5:



      Briefly describe the act(s) or omlssion(s) of this defendant which yo cla med harmed you.
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v.     STATEMENT OF CLAIM:
       State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
       when did it happen, an who w s involved. Describe how each defendant is involved, XMJM Lmlg g
       anv le al argume ts or cite anv ca es or statutes. If you intend to allege a number ot related claims, n mber
       and set forth each claim in a separate paragraph, Attach extra p ges if necessary, but remember the
       complaint must be stated briefly and concisely. IF YOU VIOLA IE HIS RULE, THE. COURT MAY
       STRIKE YOUR COMPL IN D
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       RELIEF;
       State briefly exactly what you want the court to do for you. Make o legal arguments. Cite no eases or
       stat tes.

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VII.   GENER L B CKGROUND INFORMATION;
       A. State, hi complete form, all ames you have ever used or been known by including any and all aliases.

             jocaosA,                                                                                    -

       B. ist a!) TDCJ-CID i entification umbers you have ever been assigned and all other state or federal
             pris n or FBI numbers ever assigned to you.

             -          cA*                        nivi                      A            ,

VIII. SANCTIONS;
       A. Have you been sanctio e by any court as a result of any lawsuit you have tile ? YES a no
       B. If your answer is es,M give the following information for every lawsuit in wh ch sanctions were
           imposed. (If more than one, use another piece of paper and answer the same questions.)

             1. Co rt that imposed sanctions (if federal, give the district and division 1;                            _
             2.      Case                  number:

             3, Ap roximate date sanctions                            ere imposed;                                 _
             4, Have the sancti ns beet) lifted or otherwise satisfied?                            YES . lANO

                                                                                                      Rev. 05/15
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       C. Has any court ever warned or noti Red you that sanctions co ld be imposed?                 YES f NO
       D. If your answer is "yes,'5 give the following information for every lawsuit in which a wa ing as issued,
           (If more than one. use another piece of paper and answer the same quest ons.)

           1. Court that issued warning (if federal, give the district and division):
           2. Case n mber:

           3. Approximate d te warni g as issued:



Executed on: <>Jifc\lOi 9
                DATE




PLAINTIFF S DECLARATIONS

       1. I declare under penalty of perjury all facts presented in th s complaint and attachments thereto ate true
           a d correct.
       2. I understand, if 1 am released or transferred, it is my responsibilit to keep the court informed of my
            current ail ng address and failure to do so may result in the dismissal of this lawsuit.
       3. I understand 1 m st exhaust all available administrative remedies prior to filing this la suit,
       4. 1 nder tand I am prohibited from bringing a informa pa peris lawsuit if I have brought three or more
            civil actions or appeals (from a judgment in a civil action) in a court of the Uni ed States while
            incarcerated or detained in any facility, which lawsu ts were dismissed on the ground they were
            frivolous, malicious, or failed to state a claim upon which relief may be granted, unless 1 am under
            imminent danger of serious phys cal injury,
       5. I understand even if I am allowed to proceed ithout prepayment of costs, f am re pon ible for the entire
           tiling fee costs assessed by the court, which shall be deducted in accordance with t e la from my
           inmate trust account by my c stodian until the filing fee is paid.


Signed this        y Lw              day of .                           20.\9
                     (Day)                        (month)                 (year)




WARNING: Plaintiff is ad ised any false or deliberately misleading information pr vided i response to the
ab ve questions may result in the imposition of sanctions. The sanctions the court m impose include, b t
are not limited to, mon ar sanctions and the dismissal of this actio with prejudice.




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